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  5
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  6   of the bankruptcy estate of Interworks Unlimited, Inc.

  7

  8                         UNITED STATES DISTRICT COURT

  9                       CENTRAL DISTRICT OF CALIFORNIA

 10                                 WESTERN DIVISION

 11   INTERWORKS UNLIMITED, INC., a             Case No. 2:17-cv-04983-TJH-KSx
      California corporation,
 12
                   Plaintiff,                   Notice of Automatic Stay; and
 13
            v.                                  Notice of Extensions of Time for
 14                                             Chapter 7 Trustee to Act; and
      DIGITAL GADGETS, LLC, a New
 15   Jersey limited liability company,

 16             Defendant,
      ________________________________
 17
      And related counterclaim.
 18

 19         PLEASE TAKE NOTICE that, on July 9, 2019 (the “Commencement

 20   Date”), Plaintiff Interworks Unlimited, Inc. (the "Debtor") filed a voluntary petition

 21   seeking bankruptcy protection under Chapter 7 of Title 11 of the United States

 22   Code (11 U.S.C. §§ 101-1536 (“Bankruptcy Code”) in the United States

 23   Bankruptcy Court for the Central District of California (“Bankruptcy Court”). The

 24   bankruptcy case has been assigned Case No. 2:19-bk-17990-VZ (the “Bankruptcy
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  1   Case”). A copy of the Debtor's Chapter 7 petition is attached as Exhibit A.

  2         PLEASE BE ADVISED that, as of the Commencement Date, any new or

  3   further action against the Debtor is stayed pursuant to Section 362 of the

  4   Bankruptcy Code (the “Automatic Stay”), which provides that the filing of the

  5   petition, among other things, “operates as a stay, applicable to all entities, of . . . the

  6   commencement or continuation, including the issuance or employment of process,

  7   of a judicial, administrative, or other action or proceeding against the debtor that

  8   was or could have been commenced before the commencement of the case under

  9   this title, or to recover a claim against the debtor that arose before the

 10   commencement of the case under this title …” and of “any act to obtain possession

 11   of property of the estate or of property from the estate or to exercise control over

 12   property of the estate.” 11 U.S.C. § 362(a)(1), (3).

 13         PLEASE BE FURTHER ADVISED that any action taken against the

 14   Debtor without obtaining relief from the Automatic Stay from the Bankruptcy

 15   Court may be void ab initio and may result in a finding of contempt against any

 16   party seeking any action against the Debtor.

 17         PLEASE TAKE FURTHER NOTICE that "if applicable nonbankruptcy

 18   law, an order entered in [this action], or an agreement fixes a period within which

 19   the debtor . . . may file any pleading, demand, notice, or proof of claim or loss, cure

 20   a default, or perform any other similar act, and such period has not expired before

 21   the date of the filing of the petition, the trustee may only file, cure, or perform, as

 22   the case may be, before the later of—(1) the end of such period, including any

 23   suspension of such period occurring on or after the commencement of the case; or

 24   (2) 60 days after the order for relief." 11 U.S.C. § 108(b).
                                                  2
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  1         PLEASE TAKE FURTHER NOTICE that according to the docket for this

  2   action and in accordance with 11 U.S.C. § 108(b), Edward M. Wolkowitz, interim

  3   Chapter 7 Trustee of the bankruptcy estate of Interworks Unlimited, Inc., has until

  4   September 9, 2019 (60 days after the bankruptcy filing on July 9, 2019) to file an

  5   opposition to Defendant’s Motion to Dismiss Pursuant to FRCP 12(B)(1).

  6   Dated: August 2, 2019 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.

  7

  8                            By: ____/s/ Kurt Ramlo________________________
                                     KURT RAMLO
  9                            Attorneys for Edward M. Wolkowitz, interim Chapter 7
                               Trustee of the bankruptcy estate of Interworks Unlimited,
 10                            Inc.

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                           EXHIBIT “A”
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                                                             Document      Page 1 of 4
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Interworks Unlimited Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2418 Peck Road                                                  2418 Peck Road
                                  City of Industry, CA 90601                                      City of Industry, CA 90601
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2418 Peck Road City of Industry, CA 90601
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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               Case 2:19-bk-17990                   Doc 1        Filed 07/09/19 Entered 07/09/19 17:08:29                             Desc Main
Debtor
                                                                 Document      Page 2 ofCase
                                                                                         4 number (if known)
          Interworks Unlimited Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                          Case number
                                                 District                                 When                          Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                Relationship
                                                 District                                 When                         Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                                Document      Page 3 ofCase
                                                                                        4 number (if known)
          Interworks Unlimited Inc.
          Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



          Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                 Document      Page 4 of 4
